UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
AMERIWAY CORPORATION,                                     :
                                                          :
                                        Plaintiff,        :
                                                          :                19-CV-9407 (VSB)
                      - against -                         :
                                                          :                     ORDER
                                                          :
MAY YAN CHEN and ABILITY CUSTOMS, :
INC.,                                                     :
                                                          :
                                         Defendants. :
                                                          :
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VERNON S. BRODERICK, United States District Judge:

        I held a conference in this matter on May 24, 2023 regarding Plaintiff’s request to file a

second motion for sanctions. (See Docs. 164, 165.) As reflected in my comments during the

conference, it is hereby

        ORDERED that Plaintiff file its second motion for sanctions by June 9, 2023.

Defendants’ response is due by July 14, 2023, which shall include an affidavit from Defendant

Chen that she was aware of the July 9, 2013 enforcement date in December 2012, along with any

public information referencing the July 9, 2013 enforcement date that pre-dates the June 7, 2013

announcement. Any reply will be due by July 21, 2023.

SO ORDERED.

Dated: May 26, 2023
       New York, New York
                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
